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                               SEPARATION OF POWERS CLINIC
                                 COLUMBUS SCHOOL OF LAW
                            THE CATHOLIC UNIVERSITY OF AMERICA
                                     WASHINGTON, DC
Via ECF
February 26, 2025

Judge Dale E. Ho
Thurgood Marshall
United States Courthouse
40 Foley Square
New York, NY 10007

Re: United States of America v. Adams (1:24-cr-556-DEH)

Dear Judge Ho,

The Separation of Powers Clinic at The Catholic University of America’s Columbus School of
Law respectfully requests leave to file the attached amicus brief. The government and Defendant
do not object to this relief. The Clinic has submitted numerous briefs at the Supreme Court and
lower federal courts in cases implicating separation of powers, including on the scope and
importance of the President’s Article II powers. The Clinic’s briefs have been cited in appellate
court decisions and quoted by Justices during Supreme Court oral arguments.

This Court has ruled that amici may seek leave to file briefs addressing the issues pending before
the Court, so long as they are filed by February 28, 2025. See ECF No. 136. The Clinic should be
granted leave to file its proposed brief because it is both “timely and useful” to the Court. Andersen
v. Leavitt, No. 03-CV-6115, 2007 WL 2343672, at *2 (E.D.N.Y. Aug. 13, 2007). The Clinic has no
interest in this case beyond ensuring a proper understanding and respect for the separation of
powers principles at stake. The Clinic thus embodies the “primary role of [an] amicus,” which is
to “assist the Court in reaching the right decision in a case affected with the interest of the general
public.” Russell v. Bd. of Plumbing Examiners of Cnty. of Westchester, 74 F. Supp. 2d 349, 351
(S.D.N.Y. 1999).

Sincerely,
/s/ R. Trent McCotter
R. TRENT MCCOTTER (pro hac vice pending)
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cc: All counsel of record (via ECF)
